CVATORE Lt A Ret 124 _ Filed 04/24/17 PL 1of1
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April 24, 2017

Via ECF & Electronic Mail

Hon. Katherine Polk Failla, U.S.D.J.

United States District Court, S.D.N-Y.

40 Foley Square, Room 2103

New York, New York 10007

E: Failla NYSDChambers@nysd.uscourts.gov

Re:  Orue et al v. Artisanal Fromagerie & Bistro LLC, etal.
Civil Action No: 15 Civ 5727 (KPF)

Dear Judge Failla:
I find myself in a very ackward situation.

At 11:39 AM, last evening Mr. Drory sent me an email terminating my representation
effective immediately.

I have not heard from either Mr. Drory or Ms. Schulman regarding who is representing
them. Neither party has responded to my texts or emails today.

I contacted two attorneys which they mentioned, as possible replacements. The one
attorney which was copied on the described email informed me in writing that he WAS NOT
representing them. The other attorney emailed me that he would be representing Mr. Drory, IF he
can meet with him. | called that attorney’s office 40 minutes ago and I was told he was in Court.

As of 4:15 PM, today, I have not received a consent to change attorney from anyone, nor
am I aware of anyone having filed an appearance on their behalf.

I will be present tomorrow for the hearing. I am not authorized to make any statements on
behalf Mr. Drory or Ms. Schulman, nor am I at liberty to share any documents given to me, the list
of which J provided to the Court in an earlier letter. I received said documents via email, so Mr.
Drory has copies and I assume his new lawyer has them as well.

Very truly yours,
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SALVATORE J. Liss} SOF

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